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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT NEW MEXICO


 ARRAY TECHNOLOGIES, INC.,

        Plaintiff,

 v.

 COLIN MITCHELL, an individual;                         Civil No. 1:17-cv-00087-JCH-LF
 NEXTRACKER, INC., a Delaware
 corporation;                                            District Judge Judith C. Herrera
 MARCO GARCIA, an individual;                            Magistrate Judge Laura Fashing
 DANIEL S. SHUGAR, an individual;
 SCOTT GRAYBEAL, an individual;
 FLEXTRONICS INTERNATIONAL
 U.S.A., INC., a California corporation,

        Defendants.



                     JOINT STATUS REPORT REGARDING MEDIATION

      Pursuant to the Court’s Status Report Order dated November 2, 2021 (Dkt. No. 550),

plaintiff Array Technologies, Inc. and defendants Colin Mitchell, NEXTracker, Inc., Marco

Garcia, Daniel Shugar, Scott Graybeal, and Flextronics International U.S.A, Inc., hereby inform

the Court that the parties will conduct a private mediation on February 11, 2021 before private

mediator Antonio Piazza.


Dated: November 19, 2021


 By: /s/ Kirk R. Harris                                                                           By:
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                                   Certificate of Service

      I certify that on November 19, 2021 I caused a true and correct copy of the foregoing

JOINT STATUS REPORT RE MEDIATION to be served upon the following counsel of

record via CM/ECF:

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